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                        IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF IDAHO


CARRIE ANNE BECKER,                            )   Case No. 1:20-cv-00143-DCN-REB
                                               )
          Petitioner,                          )   ORDER GRANTING REPORT and
                                               )   RECOMMENDATION
    vs.                                        )
                                               )
ANDREW SAUL, Commissioner of                   )
Social Security,                               )
                                               )
          Respondent.                          )
                                               )

       Petitioner initiated this action on March 23, 2020. Dkt. 1. After assignment to the

undersigned, the matter was referred to Chief United States Magistrate Judge Ronald E.

Bush on April 17, 2020. Dkt. 8.

       On December 23, 2020, the parties filed a Stipulated Motion for Remand, stipulating

that the case be reversed and remanded to the Commissioner of Social Security for further

development of the record, a new hearing, and a new decision by a different administrative

law judge (ALJ) regarding Petitioner’s application for disability insurance benefits under

Title II of the Social Security Act. Dkt. 23

       On December 28, 2020, Judge Bush issued a Report and Recommendation

(“Report”) recommending that the undersigned grant the parties’ Stipulated Motion for

Remand. Dkt. 24

       Good cause appearing, the Court adopts Judge Bush’s Report in its entirety,

GRANTS the Motion to Remand, and orders as follows:



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    1. The Commissioner’s decision in regard to Petitioner’s application for disability

       insurance benefits and supplemental security income under Title II of the Social

       Security Act be REMANDED to the Commissioner of Social Security for a new

       hearing and decision by an administrative law judge (ALJ).

    2. The case shall be remanded to a different Administrative Law Judge who will

       offer Petitioner an opportunity for a new hearing. On remand, the ALJ will

       reassess the opinion evidence from Dr. Turner, reassess Petitioner’s symptom

       allegations, and continue with the sequential evaluation process, obtaining

       updated evidence from a vocational expert as necessary.

    3. This case is reversed and remanded pursuant to sentence four of 42 U.S.C. §

       405(g). Upon proper presentation to this Court, Petitioner will be entitled to

       reasonable attorney fees and expenses pursuant to the Equal Access to Justice

       Act, 28 U.S.C. § 2412(d).


                                             DATED: December 29, 2020


                                             _________________________
                                             David C. Nye
                                             Chief U.S. District Court Judge




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